Case 2:04-cr-20409-.]DB Document 41 Filed 06/10/05 Page 1 of 2 Page|D 53

 

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FOR THE wEsTERN DISTRICT OF TENNESSEE _
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UN:TED sTATEs oF AMERICA, §_’T;,C_"f_§;:";-gj' F§L;¢§F`S
vs. Nc). 04~20409~Ma

DEMARCUS ROGERS,

Defendant.

 

ORDER GRANTING MOTION TO CONTINUE SUPPRESSION HEARING

 

Before the Court is the June 7, 2005, motion by the
government to reset the hearing on the motion to suppress which
Was set on June lO, 2005. Counsel for the defendant does not
oppose the resetting. For good cause shown, the motion is
granted. The hearing on the motion to suppress is reset to
Thursday, July 28, 2005, at 10:00 a.m.

The trial of this matter is reset to September 6, 2005, at
9:30 a.m., With a report date on August 26, 2005, at 2:00 p.m.
The period from July 15, 2005, through September 16, 2005, is
excluded under 18 U.S.C. § 316l(h)(8)(B}(iv) due the need for
additional time to prepare.

tt is 50 oeDERED this "° /Lday cf June, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Th!s document entered on the docket sheet in comp|i ce
with Ruie 55 and/cr 32(b) FRCrF’ on éz"l 5 ’OS

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Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
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June 13, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

